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                                    In the

        United States Court of Appeals
                      for the Seventh Circuit
                         ____________________
    No. 21-1463
    DONALD V. SNOWDEN,
                                                      Plaintiff-Appellant,
                                      v.

    JEREMY HENNING,
                                                     Defendant-Appellee.
                         ____________________

                 Appeal from the United States District Court
                      for the Southern District of Illinois.
                No. 3:19-cv-01322-JPG — J. Phil Gilbert, Judge.
                         ____________________

        ARGUED NOVEMBER 2, 2021 — DECIDED JUNE 27, 2023
                   ____________________

       Before SYKES, Chief Judge, and FLAUM and JACKSON-
    AKIWUMI, Circuit Judges.
        SYKES, Chief Judge. In Bivens v. Six Unknown Named Agents
    of Federal Bureau of Narcotics, 403 U.S. 388 (1971), the
    Supreme Court recognized an implied damages remedy
    against federal officers for certain constitutional violations.
    Bivens involved a claim for damages against federal narcot-
    ics agents for alleged Fourth Amendment violations stem-
    ming from a warrantless search, arrest, and unreasonable
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    use of force against the plaintiff in his home. The Court later
    extended the Bivens remedy to two additional contexts: a
    claim against a member of Congress under the Fifth
    Amendment for workplace sex discrimination, Davis v.
    Passman, 442 U.S. 228 (1979), and a claim against federal
    prison officials under the Eighth Amendment for failure to
    provide adequate medical care, Carlson v. Green, 446 U.S. 14
    (1980). Since then, however, the Court has consistently
    refused to authorize new Bivens claims. Today, extending
    the Bivens cause of action is a “‘disfavored’ judicial activity.”
    Ziglar v. Abbasi, 582 U.S. 120, 135 (2017) (quoting Ashcroft v.
    Iqbal, 556 U.S. 662, 675 (2009)).
        In recent years, the Court has emphasized that creating
    new causes of action is the prerogative of Congress, not the
    federal courts. To guard against encroachments on legisla-
    tive authority, the Court has fashioned a two-step frame-
    work for evaluating Bivens claims. The first step considers
    whether the claim arises in a new context. The context is new
    if the claim is different in a “meaningful way” from an
    earlier Bivens claim authorized by the Court. Id. at 139. If the
    context is not new, then the claim may proceed. But if the
    context is new, then the analysis proceeds to the second step,
    which asks whether “special factors” counsel against author-
    izing a Bivens remedy. Id. at 136.
        This case requires us to survey the evolving Bivens land-
    scape. While staying at a hotel, Donald Snowden received a
    call from the front-desk clerk asking him to visit the lobby to
    pay for the room. Special Agent Jeremy Henning with the
    Drug Enforcement Administration (“DEA”) awaited
    Snowden’s arrival; a warrant had been issued for his arrest.
    According to Snowden, Agent Henning pushed him to the
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    ground and—unprovoked—punched him several times in
    the face. Snowden suffered two black eyes and a left orbital
    fracture.
       Snowden sued Agent Henning, bringing a Fourth
    Amendment Bivens claim for use of excessive force during
    the arrest and a state-law claim for battery. The district judge
    dismissed the Bivens claim, concluding that it presents a new
    context and that special factors counseled against extending
    Bivens here. The judge dismissed the state-law battery claim
    without prejudice, and Snowden appealed.
        We resolve this case at step one of the Bivens inquiry.
    Snowden’s claim does not arise in a new context. While the
    Supreme Court has strictly limited the reach of Bivens, it has
    left the door open for at least some claims to proceed—
    provided, however, that the claim is not meaningfully
    different from Bivens itself (or one of the other two cases in
    which the Court recognized an implied remedy). A differ-
    ence is “meaningful” when it involves a factual distinction
    or new legal issue that might alter the policy balance that
    initially justified the implied damages remedies in the Bivens
    trilogy.
        If the case involves new or different considerations from
    an already-recognized Bivens action, then the inquiry moves
    to step two and separation-of-powers considerations are
    decisive. As the doctrine now stands, under the “special
    factors” inquiry, a court cannot extend Bivens to a new
    context if “there is any rational reason (even one) to think
    that Congress is better suited to weigh the costs and benefits
    of allowing a damages action to proceed.” Egbert v. Boule,
    142 S. Ct. 1793, 1805 (2022) (internal quotation marks omit-
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    ted). Few (if any) new claims will survive this test. After all,
    creating new causes of action is primarily a legislative task.
        Still, some claims may proceed under a straightforward
    application of Bivens itself. Snowden’s case presents such a
    claim. We therefore reverse.
                               I. Background
       We recount the facts as alleged in Snowden’s complaint,
    accepting the well-pleaded allegations as true at this stage of
    the litigation. Engel v. Buchan, 710 F.3d 698, 699–700 (7th Cir.
    2013).
        On September 12, 2019, Snowden was staying at the
    Quality Inn in Carbondale, Illinois. He received a call from
    the front-desk clerk, who asked him to visit the lobby to pay
    for the room. The clerk knew that Agent Henning was
    present to arrest Snowden. An arrest warrant had been
    issued after a federal grand jury indicted Snowden for
    methamphetamine distribution. 1
       When Snowden arrived in the lobby, Agent Henning
    rushed at him, pushing him into a door and onto the
    ground. Snowden did not resist, yet Henning punched him
    several times in the face. Snowden suffered two black eyes
    and a fractured left eye socket during the arrest. 2


    1 AgentHenning attached the arrest warrant to his motion to dismiss. We
    may take judicial notice of matters of public record when reviewing a
    complaint. Fosnight v. Jones, 41 F.4th 916, 922 (7th Cir. 2022).
    2 Snowden claims that the U.S. Attorney’s Office has video evidence
    confirming his account. He sought production of the video, but the judge
    denied the request as premature because the case had not yet proceeded
    to discovery on the merits.
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         Several months later while in pretrial detention on the
    methamphetamine charge, Snowden filed a pro se complaint
    against Agent Henning alleging a Fourth Amendment claim
    for “grossly excessive force” and a battery claim under
    Illinois law. Snowden also named the DEA, Quality Inn, and
    the front-desk clerk as defendants. The claims against the
    DEA targeted the agency’s training and supervision practic-
    es, and the claims against Quality Inn and the front-desk
    clerk alleged that the hotel and its staff obstructed justice.
       Because Snowden filed a civil action against the govern-
    ment while in federal pretrial detention, the judge screened
    the pleading under the Prison Litigation Reform Act
    (“PLRA”). See 28 U.S.C. § 1915A. He construed the com-
    plaint to allege a Fourth Amendment Bivens claim against
    Henning for use of excessive force during Snowden’s arrest.
    The judge allowed that claim to move forward, and he also
    exercised supplemental jurisdiction over the state-law
    battery claim against Henning. He dismissed the claims
    against the DEA, Quality Inn, and the front-desk clerk.
        Agent Henning moved to dismiss the Bivens claim for
    failure to state a claim. He argued that this case presents a
    new context and that special factors counseled against
    extending Bivens. Henning also moved to convert the battery
    claim to one under the Federal Tort Claims Act (“FTCA” or
    “the Act”) and substitute the United States as the defendant.
    He explained that the FTCA provides the exclusive remedy
    for injuries stemming from a federal employee’s violation of
    state law while acting within the scope of his employment
    and that the United States is the only proper defendant
    under the Act. The government certified that Agent Henning
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    acted within the scope of his employment during the events
    in question.
        Snowden opposed both motions. In a pro se filing, he ar-
    gued that the constitutional claim, which was based on
    allegations of unreasonable force during an arrest, was not
    meaningfully different from Bivens. He did not explain his
    opposition to the motion to convert the battery claim to one
    under the FTCA and substitute the United States as the
    defendant.
        The judge dismissed the Bivens claim against Agent
    Henning. He identified certain factual distinctions between
    Snowden’s case and Bivens, including the location of the
    arrest, the presence of an arrest warrant, and the number of
    officers involved in the incident. He also identified what he
    characterized as a legal difference between the Fourth
    Amendment rights at issue in Snowden’s case and in Bivens.
    He described Bivens as “primarily” involving allegations
    concerning the “rights of privacy” implicated in an unlawful
    warrantless home entry, arrest, and search, while Snowden
    alleged a violation of his “right to be free from excessive
    force incident to an otherwise lawful arrest.” These differ-
    ences led the judge to conclude that Snowden’s case presents
    a new Bivens context. The judge then held that special factors
    weighed against recognizing a Bivens claim here—namely,
    the availability of an alternative remedy under the FTCA
    and the absence of a damages remedy against federal offic-
    ers in the FTCA or PLRA.
        Finally, the judge declined to substitute the United States
    on the battery claim and convert the claim to one under the
    FTCA. He explained that Snowden had pursued a Bivens
    claim against Agent Henning and should be able to decide
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    for himself if he would also like to bring an FTCA claim
    against the United States as a substitute for the state-law tort
    claim.
        With the Bivens claim dismissed, no federal claim re-
    mained. The judge relinquished jurisdiction over the battery
    claim, dismissing it without prejudice.
                            II. Discussion
        Snowden limits his appeal to the dismissal of his Bivens
    claim against Agent Henning. The judge’s other rulings—
    dismissing the other defendants at screening and declining
    to convert the battery claim to one under the FTCA—are not
    at issue here.
        The practice of recognizing implied damages remedies
    against federal officials for alleged constitutional violations
    had a short run at the Supreme Court. In its 1971 decision in
    Bivens, the Court authorized a damages remedy for a plain-
    tiff who alleged that federal narcotics officers violated his
    Fourth Amendment rights by entering and searching his
    home without a warrant and arresting him using unreason-
    able force. 403 U.S. at 389–90. Nearly a decade later, the
    Court recognized an implied damages action against a
    member of Congress for workplace sex discrimination in
    violation of the Fifth Amendment. Davis, 442 U.S. at 230,
    248–49. The following year, the Court extended Bivens again,
    approving a cause of action for damages against federal
    prison officials for failure to provide adequate medical care
    in violation of the Eighth Amendment. Carlson, 446 U.S. at
    16, 19.
       Carlson marked the end of the line. Since 1980 the Court
    has consistently rejected requests to recognize additional
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    Bivens claims. See Hernández v. Mesa, 140 S. Ct. 735, 743 (2020)
    (citing Supreme Court cases after Carlson that rejected Bivens
    claims). And in recent years the Court has made explicit
    what had been implicit—“that expanding the Bivens remedy
    is now a ‘disfavored’ judicial activity.” Abbasi, 582 U.S. at 135
    (quoting Iqbal, 556 U.S. at 675).
        Bivens emerged at a time when courts freely implied
    causes of action under federal statutes in the name of legisla-
    tive purpose. The Court later rejected statutory remedies
    created through “judicial mandate,” reinforcing that a cause
    of action must be supported by congressional intent ex-
    pressed clearly in statutory text. Id. at 133. The Court like-
    wise stressed that “it is a significant step under separation-
    of-powers principles for a court to determine that it has the
    authority, under the judicial power, to create and enforce a
    cause of action for damages against federal officials in order
    to remedy a constitutional violation.” Id. The Court’s most
    recent Bivens case makes the point more emphatically:
    “[C]reating a cause of action is a legislative endeavor.”
    Egbert, 142 S. Ct. at 1802.
        But the Court has stopped short of overruling the Bivens
    trilogy. Instead, it has fashioned a two-step framework to
    ensure that the judiciary does not further encroach on legis-
    lative authority under the banner of Bivens. The first step
    asks whether the plaintiff’s case presents “a new Bivens
    context.” Id. at 1803 (quoting Abbasi, 582 U.S. at 139). If it
    does not, then the plaintiff’s claim may proceed. But if the
    claim arises in a new context, then the court must consider
    whether “there are ‘special factors’ indicating that the Judi-
    ciary is at least arguably less equipped than Congress to
    ‘weigh the costs and benefits of allowing a damages action
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    to proceed.’” Id. (quoting Abbasi, 582 U.S. at 136). “If there is
    even a single ‘reason to pause before applying Bivens in a
    new context,’ a court may not recognize a Bivens remedy.”
    Id. (quoting Hernández, 140 S. Ct. at 743).
        We focus here on the first step—whether Snowden’s
    Bivens claim arises in a “new context.” A context is “new” if
    “the case is different in a meaningful way from previous
    Bivens cases” decided by the Supreme Court. Abbasi, 582 U.S.
    at 139. The Court has identified some differences that qualify
    as “meaningful”:
           the rank of the officers involved; the constitu-
           tional right at issue; the generality or specificity
           of the official action; the extent of judicial
           guidance as to how an officer should respond
           to the problem or emergency to be confronted;
           the statutory or other legal mandate under
           which the officer was operating; the risk of dis-
           ruptive intrusion by the Judiciary into the func-
           tioning of other branches; or the presence of
           potential special factors that previous Bivens
           cases did not consider.
    Id. at 140. A context may also be “new” when a “new catego-
    ry of defendants” is involved. Hernández, 140 S. Ct. at 743
    (quotation marks omitted).
        Several cases show these principles in practice. In Abbasi
    illegal immigrants who were detained in a special detention
    unit in the aftermath of the September 11 terrorist attacks
    brought a damages claim against senior Department of
    Justice officials and prison wardens for harsh conditions in
    the unit. Seeking a remedy under Bivens, they pointed to
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    “significant parallels” with Carlson, which had recognized a
    cause of action under the Eighth Amendment for inadequate
    prison medical care. Abbasi, 582 U.S. at 147. The Court held
    that the case represented an extension of Bivens to a new
    context, noting that the claim implicated a different constitu-
    tional right (the Fifth Amendment vs. the Eighth Amend-
    ment), that alternative remedies might have been available,
    and that the PLRA suggested that Congress “chose not to
    extend the Carlson damages remedy to cases involving other
    types of prisoner mistreatment.” Id. at 148–49. These differ-
    ences “easily satisfied” the new-context test. Id. at 149.
        The Court followed a similar path in Hernández, which
    involved a cross-border shooting in which a Border Patrol
    agent shot and killed a Mexican teenager who had been
    running back and forth across the U.S.–Mexico border.
    140 S. Ct. at 739–40. The victim’s parents sued the agent,
    relying on Bivens and Davis to support claims under the
    Fourth and Fifth Amendments. The Court explained that a
    Bivens claim may present a new context “even if it is based
    on the same constitutional provision as a claim in a case in
    which a damages remedy was previously recognized.” Id. at
    743. And “[a] cross-border shooting is by definition an
    international incident”—a “world of difference” from the
    claims recognized in Bivens and Davis. Id. at 744. That differ-
    ence was significant: it raised foreign-relations and border-
    security concerns, which risked “disruptive intrusion by the
    Judiciary into the functioning of other branches.” Id. (quot-
    ing Abbasi, 582 U.S. at 140). The Court held that “multiple
    factors” counseled against extending Bivens, all of which
    could be “condensed to one concern—respect for the separa-
    tion of powers.” Id. at 749.
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        Minneci v. Pollard, 565 U.S. 118 (2012), is another example.
    Prisoners sued employees of a privately operated federal
    prison seeking damages for inadequate medical care in
    violation of the Eighth Amendment. The plaintiffs argued
    that Carlson governed and authorized their Bivens claim. The
    Court responded that the defendants’ status as “personnel
    employed by a private firm” was a “critical difference.” Id. at
    126. A prisoner could not ordinarily sue a federal employee
    for damages in a state-law tort action, but a state-law tort
    claim is an available remedy against an employee of a
    privately operated prison. The Court added that an earlier
    case had foreclosed the argument that a private prison-
    management firm should be treated as a “federal agent.” Id.
    at 126–27 (citing Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 70
    & n.4 (2001)). Because the context was new and the plaintiffs
    had an adequate remedy at state law, the Court declined to
    imply a Bivens remedy. 3 Id. at 131.


    3 It’s worth noting that the Court’s Bivens cases do not uniformly adhere
    to the two-step framework. Sometimes the Court declines to imply a
    Bivens remedy because Congress had already created a remedial scheme.
    See, e.g., Bush v. Lucas, 462 U.S. 367, 380–90 (1983). Sometimes it declines
    to extend Bivens because of the sensitive domain involved, like the
    military. See, e.g., Chappell v. Wallace, 462 U.S. 296, 298–305 (1983). Still
    other cases decline to extend Bivens because a new category of defendant
    was present. See, e.g., Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 69–74
    (2001). Though these cases do not formally follow the two-step frame-
    work, they resolve the Bivens question in a functionally similar way.
         Minneci is much the same. The Court began by considering whether
    Carlson controlled because the plaintiffs brought a Bivens claim based on
    prison conditions. Minneci v. Pollard, 565 U.S. 118, 126–27 (2012). Looking
    to its precedent, the Court considered whether the case involved a new
    context. The Court then evaluated the adequacy of a state-law tort
    remedy, which is a special factor that might counsel hesitation in extend-
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        The distinctions that proved meaningful in Abbasi,
    Hernández, and Minneci are not exclusive. Here Snowden
    raises a Fourth Amendment claim, and the threshold ques-
    tion for us is whether his case is meaningfully different from
    Bivens itself—in the sense meant by the Court’s “new con-
    text” caselaw. That a difference must be “meaningful”
    suggests that some degree of variation will not preclude a
    Bivens remedy. The Court has explicitly recognized this
    point: “Some differences, of course, will be so trivial that
    they will not suffice to create a new Bivens context.” Abbasi,
    582 U.S. at 149.
        We understand the Court’s evolving Bivens guidance to
    suggest that a difference is “meaningful” if it might alter the
    policy balance that initially justified the causes of action
    recognized in Bivens, Davis, and Carlson. If a case involves
    facts or legal issues that would require reweighing the costs
    and benefits of a damages remedy against federal officials,
    then the difference is “meaningful” because we risk further
    encroachment on the legislative function rather than simply
    applying controlling Supreme Court precedent. Viewed
    another way, we’re called on to apply a familiar mode of
    judicial reasoning to determine if the case before us fits


    ing the Bivens remedy. Minneci basically maps onto the two-step frame-
    work.
         On the other hand, sometimes the Court’s cases do not explicitly ad-
    dress the “new context” inquiry because they do not need to—where, for
    example, the case raises a claim under a different constitutional provi-
    sion (like the First Amendment) or presents an obviously distinct factual
    setting (like the military). These cases move straight to the analysis of
    special factors to determine whether to authorize a Bivens claim. See, e.g.,
    Bush, 462 U.S. at 378–90; Chappell, 462 U.S. at 298–305.
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    within the Court’s still-valid—but now quite limited—
    precedent, with special solicitude to the separation-of-
    powers concerns identified by the Court.
        This understanding accords with the cases we’ve just de-
    scribed. In Abbasi a damages remedy like the one recognized
    in Carlson might not be appropriate because the plaintiffs
    invoked a different constitutional right, had alternate reme-
    dies, and the PLRA suggested that Congress might not have
    wanted to extend Carlson to other prisoner-mistreatment
    claims. These differences, though “perhaps small,” suggest-
    ed that the factual and legal background had shifted enough
    from Carlson to warrant restraint. Id. The same was true in
    Hernández. A cross-border shooting implicates foreign-
    relations concerns that were not present in the everyday
    law-enforcement context of Bivens. That difference readily
    indicated that a court might weigh the propriety of an
    implied damages remedy differently than in Bivens. Finally,
    the presence in Minneci of a new class of defendant, subject
    to a state-law tort suit, signaled that the balance struck in
    Carlson did not apply. The availability of an adequate state-
    law remedy against a class of defendant not covered by the
    Court’s Bivens trilogy could suggest that the differences are
    sufficiently meaningful to require careful consideration of
    separation-of-powers factors that counsel against a Bivens
    action.
        Note that we speak not in absolute terms but in “mights”
    and “coulds” instead. That is because “our watchword is
    caution.” Hernández, 140 S. Ct. at 742. If a court finds differ-
    ences in a case that could upset a straightforward applica-
    tion of Bivens or Davis or Carlson, then the case presents a
    new Bivens context and the analysis moves to the “special
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    factors” inquiry. This understanding of the new-context
    requirement harmonizes the two steps in the Court’s Bivens
    framework. In the first step we identify claims that entail
    “meaningful” differences from the claims at issue in the
    Bivens trilogy—i.e., factual distinctions and legal issues that
    might alter the cost–benefit balance that justified an implied
    damages remedy in those cases. In the second step we pay
    special attention to separation-of-powers concerns, consider-
    ing whether “special factors” indicate that Congress is better
    equipped in the specific context to assess the costs and
    benefits of a damages remedy. An approach that sorts cases
    in the heartland of Bivens from those that might introduce
    separation-of-powers concerns makes sense because of the
    deference owed to Congress, which “is best positioned to
    evaluate ‘whether, and the extent to which, monetary and
    other liabilities should be imposed upon individual officers
    and employees of the Federal Government’ based on consti-
    tutional torts.” Id. (quoting Abbasi, 582 U.S. at 134).
        The Fourth Circuit has distilled the new-context inquiry
    in much the same way. The court explained: “[A] new
    context may arise if even one distinguishing fact has the
    potential to implicate separation-of-powers considerations.” Tate v.
    Harmon, 54 F.4th 839, 846 (4th Cir. 2022) (second emphasis
    added). And recent Bivens cases from other circuits also
    reflect this approach, finding a new context when there are
    separation-of-powers considerations different than those
    already present in the Bivens trilogy. See Bulger v. Hurwitz,
    62 F.4th 127, 137–38 (4th Cir. 2023) (concluding that the
    Bivens claim arose in a new context because the plaintiff’s
    claim implicated the Bureau of Prisons’ “organizational
    policies, administrative decisions, and economic concerns
    inextricably tied to inmate transfer and placement determi-
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    nations”); Dyer v. Smith, 56 F.4th 271, 277–78 (4th Cir. 2022)
    (new context because TSA officers operate under a different
    legal mandate); Tun-Cos v. Perrotte, 922 F.3d 514, 523–25 (4th
    Cir. 2019) (new context because immigration enforcement
    concerns noncitizens, because of “broad policy concerns,”
    and because ICE agents are a “new category of defendants”);
    Mejia v. Miller, 61 F.4th 663, 668–69 (9th Cir. 2023) (new
    context because “[t]he entire incident occurred on public
    lands managed by BLM and the National Park Service, a
    place where [the plaintiff] had no expectation of privacy”);
    K.O. ex rel. E.O. v. Sessions, No. 20-5255, 2022 WL 3023645, at
    *3–4 (D.C. Cir. July 29, 2022) (per curiam) (new context
    because the “case arises in the context of immigration deten-
    tion” and because the claims “implicate new defendants,”
    including “various high-level officials”).
       At the other end of the spectrum, a recent Fourth Circuit
    decision recognized that a Bivens claim remains viable if it
    doesn’t present concerns that might caution against the
    application of a preexisting damages remedy. Hicks v.
    Ferreyra, 64 F.4th 156, 166–69 (4th Cir. 2023) (concluding that
    the Bivens claim did not present a new context because it
    involved “not an extension of Bivens so much as a replay of
    the same principles of constitutional criminal law prohibit-
    ing the unjustified, warrantless seizure of a person” (internal
    quotation marks omitted)).
        Of course, just last term the Supreme Court emphasized
    just how narrow the path is for a Bivens claim to proceed. In
    Egbert the Court suggested that the two-step framework
    boils down to one question: “whether there is any reason to
    think that Congress might be better equipped to create a
    damages remedy.” 142 S. Ct. at 1803. Writing on a blank
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    slate, we might say that it is never appropriate for a federal
    court to create an implied cause of action for damages under
    the Constitution. See Abbasi, 582 U.S. at 134 (“[I]t is possible
    that the analysis in the Court’s three Bivens cases might have
    been different if they were decided today.”). But we operate
    within the current state of the doctrine, and the Court has
    said that its recent decisions are “not intended to cast doubt
    on the continued force, or even the necessity, of Bivens in the
    search-and-seizure context in which it arose.” Id. Indeed, the
    Court has explained that “[t]he settled law of Bivens in th[e]
    common and recurrent sphere of law enforcement, and the
    undoubted reliance upon it as a fixed principle in the law,
    are powerful reasons to retain it in that sphere.” Id. Because
    Bivens remains good law, at least for now, we continue to
    apply it.
        On these understandings, we can identify no meaningful
    difference between Snowden’s case and Bivens to suggest
    that he should not be able to pursue this excessive-force
    claim. Agent Henning operated under the same legal man-
    date as the officers in Bivens—the enforcement of federal
    drug laws. He is also the same kind of line-level federal
    narcotics officer as the defendant–officers in Bivens. Like
    Webster Bivens, Snowden seeks damages for violation of his
    rights under the Fourth Amendment; more specifically, both
    plaintiffs alleged that officers used unreasonable force in an
    arrest. And the legal landscape of excessive-force claims is
    well settled, with decades of circuit precedent applying the
    Supreme Court’s test announced in Graham v. Connor,
    490 U.S. 386 (1989). See, e.g., Doxtator v. O’Brien, 39 F.4th 852,
    860–62 (7th Cir. 2022); Brownell v. Figel, 950 F.2d 1285, 1292–
    93 (7th Cir. 1991). Officers have clear guidance on the level
    of force that is reasonable when arresting a suspect who
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    does not resist. See Gonzalez v. City of Elgin, 578 F.3d 526, 539
    (7th Cir. 2009) (“An officer’s use of force is unreasonable
    from a constitutional point of view only if, judging from the
    totality of circumstances at the time of the arrest, the officer
    used greater force than was reasonably necessary to make
    the arrest.” (internal quotation marks omitted)); Abbott v.
    Sangamon County, 705 F.3d 706, 732 (7th Cir. 2013) (conclud-
    ing that it had been “well-established in this circuit that
    police officers could not use significant force on nonresisting
    or passively resisting suspects”).
        Nor does allowing a Bivens claim here risk a “disruptive
    intrusion” into the “functioning of other branches.” At the
    very least, the intrusion is no more disruptive than what
    Bivens itself already approved. Finally, Snowden’s claim
    implicates no other contextual factor—whether a national
    security issue (Hernández), a different constitutional right
    coupled with alternative remedies (Abbasi), or a different
    class of defendant (Minneci)—that might lead us to move to
    the second step of the Bivens inquiry. 4 In short, consideration

    4 Agent Henning discusses other factors only when he addresses the
    second step of the Bivens analysis, but the factors he identifies also do not
    suggest that Snowden’s claim arises in a new context. He points to the
    availability of a remedy under the FTCA. However, the statute does not
    displace a Bivens claim in the narrow cases where it is available. In
    Carlson the Court concluded that “victims of the kind of intentional
    wrongdoing alleged in this complaint shall have an action under FTCA
    against the United States as well as a Bivens action against the individual
    officials alleged to have infringed their constitutional rights.” Carlson v.
    Green, 446 U.S. 14, 20 (1980) (emphasis added).
        More recently the Court recognized that “Congress made clear that it
    was not attempting to abrogate Bivens,” Hernández v. Mesa, 140 S. Ct. 735,
    748 n.9 (2020), because it excepted “a civil action … brought for a
    violation of the Constitution of the United States” from the FTCA’s
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    of the Abbasi factors points to the same conclusion: We do
    not risk arrogating a legislative function by allowing
    Snowden’s Bivens claim to proceed.
        Resisting this conclusion, Agent Henning argues that
    Bivens rests on “the right to be free of unreasonable warrant-
    less search and detention in one’s own home and arrest in
    the absence of probable cause.” He describes Snowden’s
    claim as rooted in “the right to be free of excessive force in
    the context of a lawful arrest in a public place pursuant to a
    warrant issued following a finding of probable cause.” This
    argument overlooks that the claim in Bivens specifically
    included an allegation that “unreasonable force was em-
    ployed in making the arrest.” Bivens, 403 U.S. at 389.
        Agent Henning also points to narrow factual differences
    to argue that Snowden’s claim presents a new context dis-
    tinct from Bivens. Drawing on the district judge’s reasoning,
    he highlights that the alleged Fourth Amendment violations
    took place in different locations (a hotel lobby here, a home
    in Bivens); that he had a warrant (the officers in Bivens did
    not); and that he was the only officer involved (six officers
    participated in the arrest at issue in Bivens). These distinc-
    tions are not sufficient to affect the Bivens inquiry. Hotel or
    home, warrant or no warrant—the claims here and in Bivens
    stem from run-of-the-mill allegations of excessive force
    during an arrest. The number of officers present might prove
    relevant to whether the force applied was reasonable, but as

    exclusivity provision, 28 U.S.C. § 2679(b)(2)(A). The provision was “not a
    license to create a new Bivens remedy in a context [the Court] ha[s] never
    before addressed” but “simply left Bivens where it found it.” Hernández,
    140 S. Ct. at 748 n.9. This case does not present a new Bivens context, so
    the Act does not come into play.
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    a separation-of-powers matter, the presence of one officer
    rather than six is not meaningful. This case does not involve
    a different class of defendant—a new context that indeed
    might require more careful consideration. See, e.g., Minneci,
    565 U.S. at 126–31; FDIC v. Meyer, 510 U.S. 471, 484–86
    (1994). In short, the factual distinctions Henning emphasizes
    are of the “trivial” kind that “will not suffice to create a new
    Bivens context.” Abbasi, 582 U.S. at 149.
        Finally, Agent Henning seeks support in Oliva v. Nivar,
    973 F.3d 438 (5th Cir. 2020). But Oliva involved a Bivens
    claim based on an allegation of excessive force that occurred
    at a security checkpoint in a Veterans Affairs hospital, and
    the distinctions there were meaningful. Id. at 440–41. The
    case involved a different type of officer with a different law-
    enforcement mandate: a VA police officer enforcing hospital
    safety (in contrast to narcotics officers carrying out a drug
    investigation). The seizure itself occurred in a government
    facility, a space that is meaningfully different than a private
    home or building for the purpose of a judicially implied
    damages remedy. The Fifth Circuit concluded that these
    distinctions mattered. The context therefore was new, and
    the court held that special factors warranted restraint. Id. at
    443–44. The threat of a damages award against VA security
    officers could cause more lax enforcement of safety protocols
    in a government building. In other words, the circumstances
    in Oliva implicated the kind of policy balancing better left to
    Congress. Snowden’s Bivens claim raises no such distinc-
    tions.
       In the end, although the Supreme Court has narrowly
    cabined the Bivens remedy and consistently refused to
    recognize new claims, we cannot decline to apply “the
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    settled law of Bivens” unless Snowden’s case is meaningfully
    different—i.e., different in a way that implicates the
    separation-of-powers calculus. Abbasi, 582 U.S. at 134, 139–
    40. There is no such difference here. Bivens may one day be
    reexamined; indeed, two Justices have proposed that it be
    abandoned. Egbert, 142 S. Ct. at 1809–10 (Gorsuch, J., concur-
    ring); Hernández, 140 S. Ct. at 750–53 (Thomas, J., concur-
    ring). But our role is to apply the Court’s caselaw as it stands
    now. Because Snowden’s claim is not meaningfully different
    than Bivens itself, it may proceed.
                                                         REVERSED
